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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF DELAWARE

          JULIE A. GONZALEZ,                              )
                                                          )
                                        Plaintiff,        )
                                                          )   C.A. No. 16-279 GMS
                                                          )
                              v.
                                                          )
                                                          )
          WESTSIDE FAMILY                                     TRIAL BY JURY DEMANDED
                                                          )
          HEALTHCARE, INC.,                               )
          a Delaware corporation,                         )
                                                          )
                                      Defendant.          )

                                        STIPULATION OF DISMISSAL

                        The parties, by and through the undersigned counsel, hereby stipulate and agree

         that this action is dismissed with prejudice. Each party shall bear its own costs and attorneys'

          fees.

          SCHMITTINGER & RODRIGUEZ, P.A.                      YOUNGCONAWAYSTARGATT&
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         Dated: March 24, 2017                                Dated: March 24, 2017




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